              Case
     Fill in this      18-63172-pmb
                  information                   Doc
                              to identify your case:     1   Filed 08/06/18 Entered 08/06/18 20:01:56                             Desc Main
                                                             Document     Page 1 of 33
     United States Bankruptcy Court for the:

     ____________________
     Northern              District of _________________
              District of Georgia      (State)


                                                             
     Case number (If known): _________________________ Chapter you are filing under:

                                                             
                                                                                                                                         Check if this is an
                                                                 Chapter 7
                                                             ✔
                                                             
                                                                 Chapter 11

                                                             
                                                                 Chapter 12
                                                                 Chapter 13                                                                 amended filing




Official Form 201
V olunt a ry Pe t it ion for N on-I ndividua ls Filing for Ba nk rupt c y                                                                            12/15

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.



1.    Debtor’s name                        Ideal Development Corporation
                                           ______________________________________________________________________________________________________




2.    All other names debtor used          ______________________________________________________________________________________________________
      in the last 8 years                  ______________________________________________________________________________________________________
                                           ______________________________________________________________________________________________________
      Include any assumed names,
                                           ______________________________________________________________________________________________________
      trade names, and doing business
      as names                             ______________________________________________________________________________________________________




3.    Debtor’s federal Employer            XX-XXXXXXX
                                           ______________________________________
      Identification Number (EIN)



4.    Debtor’s address                     Principal place of business                                  Mailing address, if different from principal place
                                                                                                        of business
                                               2797 Campbellton Road                                    _______________________________________________
                                           ______________________________________________
                                           Number     Street                                            Number     Street

                                               Suite A
                                           ______________________________________________               _______________________________________________
                                                                                                        P.O. Box

                                               Atlanta                        GA   30311
                                           ______________________________________________               _______________________________________________
                                           City                        State    ZIP Code                City                      State      ZIP Code

                                                                                                        Location of principal assets, if different from
                                                                                                        principal place of business
                                               Fulton County
                                           ______________________________________________
                                           County                                                       _______________________________________________
                                                                                                        Number     Street

                                                                                                        _______________________________________________

                                                                                                        _______________________________________________
                                                                                                        City                      State      ZIP Code




5.    Debtor’s website (URL)               ____________________________________________________________________________________________________


                                           
                                           ✔ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                            Partnership (excluding LLP)
6.    Type of debtor

                                            Other. Specify: __________________________________________________________________


Official Form 201                                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                             page 1
             Case 18-63172-pmb             Doc 1         Filed 08/06/18 Entered 08/06/18 20:01:56                               Desc Main
                                                         Document     Page 2 of 33
                Ideal Development Corporation
Debtor          _______________________________________________________                        Case number (if known)_____________________________________
                Name



                                         A. Check one:

                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
7.    Describe debtor’s business

                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                         
                                         ✔ None of the above




                                         B. Check all that apply:

                                          Tax-exempt entity (as described in 26 U.S.C. § 501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                            § 80a-3)
                                          Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                         C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                            See http://www.naics.com/search/ .
                                            531390
                                            _________

8.    Under which chapter of the         Check one:

                                          Chapter 7
      Bankruptcy Code is the

                                          Chapter 9
      debtor filing?

                                         
                                         ✔ Chapter 11. Check all that apply:

                                                       ✔  Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                             insiders or affiliates) are less than $2,566,050 (amount subject to adjustment on
                                                             4/01/19 and every 3 years after that).
                                                         
                                                         ✔    The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
                                                             debtor is a small business debtor, attach the most recent balance sheet, statement
                                                             of operations, cash-flow statement, and federal income tax return or if all of these
                                                             documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

                                                            A plan is being filed with this petition.

                                                            Acceptances of the plan were solicited prepetition from one or more classes of creditors,
                                                             in accordance with 11 U.S.C. § 1126(b).

                                                            The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                             Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                             Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                             for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                            The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                             12b-2.
                                          Chapter 12

9.    Were prior bankruptcy cases         No
                                          Yes.
      filed by or against the debtor
      within the last 8 years?                     District _______________________ When _______________ Case number _________________________
                                                                                         MM / DD / YYYY
      If more than 2 cases, attach a
      separate list.                               District _______________________ When _______________ Case number _________________________
                                                                                         MM / DD / YYYY

10.   Are any bankruptcy cases            No
                                          Yes.
      pending or being filed by a
      business partner or an                       Debtor _____________________________________________ Relationship _________________________
      affiliate of the debtor?                     District _____________________________________________ When               __________________
      List all cases. If more than 1,                                                                                        MM / DD / YYYY
      attach a separate list.                      Case number, if known ________________________________


     Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 2
           Case 18-63172-pmb                     Doc 1      Filed 08/06/18 Entered 08/06/18 20:01:56                                 Desc Main
                                                            Document     Page 3 of 33
              Ideal Development Corporation
Debtor        _______________________________________________________                             Case number (if known)_____________________________________
              Name




11.   Why is the case filed in this         Check all that apply:

                                             Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
      district?
                                                 immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                                 district.

                                             A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

12.   Does the debtor own or have           
                                             Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                            ✔ No
      possession of any real
      property or personal property
      that needs immediate                            Why does the property need immediate attention? (Check all that apply.)

                                                      
      attention?
                                                          It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                          What is the hazard? _____________________________________________________________________

                                                         It needs to be physically secured or protected from the weather.

                                                         It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                          attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                          assets or other options).

                                                         Other _______________________________________________________________________________



                                                      Where is the property?_____________________________________________________________________
                                                                                Number          Street

                                                                                ____________________________________________________________________

                                                                                _______________________________________         _______     ________________
                                                                                City                                            State       ZIP Code


                                                      Is the property insured?
                                                         No
                                                         Yes. Insurance agency ____________________________________________________________________

                                                               Contact name     ____________________________________________________________________

                                                               Phone            ________________________________




            St a t ist ic a l a nd a dm inist ra t ive informa t ion



13.   Debtor’s estimation of                Check one:
      available funds                        Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.
                                             ✔




                                             1-49                             1,000-5,000                              25,001-50,000
                                             50-99                            5,001-10,000                             50,001-100,000
                                             ✔

14.   Estimated number of
      creditors
                                             100-199                          10,001-25,000                            More than 100,000
                                             200-999

                                             $0-$50,000                       $1,000,001-$10 million                   $500,000,001-$1 billion
15.   Estimated assets                       $50,001-$100,000                 $10,000,001-$50 million                  $1,000,000,001-$10 billion
                                             $100,001-$500,000                $50,000,001-$100 million                 $10,000,000,001-$50 billion
                                             $500,001-$1 million
                                             ✔
                                                                               $100,000,001-$500 million                More than $50 billion



  Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                 page 3
           Case 18-63172-pmb                    Doc 1       Filed 08/06/18 Entered 08/06/18 20:01:56                                 Desc Main
                                                            Document     Page 4 of 33
               Ideal Development Corporation
Debtor         _______________________________________________________                             Case number (if known)_____________________________________
               Name



                                            $0-$50,000                          $1,000,001-$10 million                   $500,000,001-$1 billion
16.   Estimated liabilities                 $50,001-$100,000                    $10,000,001-$50 million                  $1,000,000,001-$10 billion
                                            $100,001-$500,000                   $50,000,001-$100 million                 $10,000,000,001-$50 billion
                                            $500,001-$1 million
                                            ✔
                                                                                 $100,000,001-$500 million                More than $50 billion


             Re que st for Re lie f, De c la ra tion, a nd Signa t ure s


WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


17.   Declaration and signature of             The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
      authorized representative of
                                                petition.
      debtor
                                               I have been authorized to file this petition on behalf of the debtor.

                                               I have examined the information in this petition and have a reasonable belief that the information is true and
                                                correct.


                                           I declare under penalty of perjury that the foregoing is true and correct.




                                            /s/ James T. Walker
                                                              08/06/2018
                                                Executed on _________________
                                                            MM / DD / YYYY


                                                _____________________________________________               James T. Walker
                                                                                                           _______________________________________________
                                                Signature of authorized representative of debtor           Printed name

                                                       President
                                                Title _________________________________________




18.   Signature of attorney
                                            /s/ Will Geer
                                                _____________________________________________              Date         08/06/2018
                                                                                                                        _________________
                                                Signature of attorney for debtor                                        MM   / DD / YYYY



                                                Will Geer
                                                _________________________________________________________________________________________________
                                                Printed name
                                                Wiggam & Geer, LLC
                                                _________________________________________________________________________________________________
                                                Firm name
                                                333 Sandy Springs Circle, NE Suite 225
                                                _________________________________________________________________________________________________
                                                Number     Street
                                                Atlanta
                                                ____________________________________________________            GA             30328
                                                                                                               ____________ ______________________________
                                                City                                                           State        ZIP Code

                                                678-587-8740
                                                ____________________________________                              wgeer@wiggamgeer.com
                                                                                                               __________________________________________
                                                Contact phone                                                  Email address



                                                940493                                                          GA
                                                ______________________________________________________ ____________
                                                Bar number                                             State




  Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                                 page 4
               Case 18-63172-pmb                                     Doc 1             Filed 08/06/18 Entered 08/06/18 20:01:56                                                                    Desc Main
                                                                                       Document     Page 5 of 33

 Fill in this information to identify the case:

                Ideal Development Corporation
  Debtor name _________________________________________________________________

                                          Northern District of Georgia
  United States Bankruptcy Court for the:_______________________ District of ________
                                                                                                                     (State)
  Case number (If known):              _________________________


                                                                                                                                                                                                      Check if this is an
                                                                                                                                                                                                         amended filing



Official Form 206Sum
Sum m a ry of Asse t s a nd Lia bilit ie s for N on-I ndividua ls                                                                                                                                                  12/15




Pa rt 1 :        Sum m a ry of Asse t s


1. Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

     1a. Real property:
                                                                                                                                                                                                          690,000.00
                                                                                                                                                                                                    $ __________________
           Copy line 88 from Schedule A/B ..........................................................................................................................................

     1b. Total personal property:                                                                                                                                                                          89,200.00
                                                                                                                                                                                                    $ __________________
           Copy line 91A from Schedule A/B ........................................................................................................................................

     1c. Total of all property:                                                                                                                                                                           779,200.00
                                                                                                                                                                                                    $ __________________
           Copy line 92 from Schedule A/B ..........................................................................................................................................




Pa rt 2 :        Sum m a ry of Lia bilit ie s




2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                                                                                                                                                                                                          716,466.35
                                                                                                                                                                                                    $ __________________
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D ................................................

3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)


     3a. Total claim amounts of priority unsecured claims:
                                                                                                                                                                                                                   0.00
                                                                                                                                                                                                    $ __________________
           Copy the total claims from Part 1 from line 6a of Schedule E/F .........................................................................................

     3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 6b of Schedule E/F .............................................................                                           +$ __________________
                                                                                                                                                                                                           14,545.00



4. Total liabilities ...........................................................................................................................................................................          731,011.35
                                                                                                                                                                                                    $ __________________
     Lines 2 + 3a + 3b




  Official Form 206Sum                                        Summary of Assets and Liabilities for Non-Individuals                                                                                       page 1
              Case 18-63172-pmb                  Doc 1      Filed 08/06/18 Entered 08/06/18 20:01:56                                Desc Main
                                                            Document     Page 6 of 33
      Fill in this information to identify the case:

                    Ideal Development Corporation
      Debtor name __________________________________________________________________



                                                                                                                                        Check if this is an
                                              Northern District of Georgia
      United States Bankruptcy Court for the:_______________________________

      Case number (If known):   _________________________                                                                                   amended filing




    Official Form 204
    Cha pt e r 1 1 or Cha pt e r 9 Ca se s: List of Cre dit ors Who H a ve t he 2 0 La rge st
    U nse c ure d Cla im s a nd Are N ot I nside rs                                                                                                      12/15

    A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
    disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
    secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20
    largest unsecured claims.


     Name of creditor and complete           Name, telephone number,      Nature of the claim   Indicate if     Amount of unsecured claim
     mailing address, including zip code     and email address of         (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                             creditor contact             debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in
                                                                          professional          unliquidated,   total claim amount and deduction for value of
                                                                          services, and         or disputed     collateral or setoff to calculate unsecured claim.
                                                                          government
                                                                          contracts)
                                                                                                                Total claim, if    Deduction for       Unsecured
                                                                                                                partially          value of            claim
                                                                                                                secured            collateral or
                                                                                                                                   setoff
     Synchrony Bank                                                     Credit Card Debt
1    PO Box 960061
                                                                                                                                                     6,145.00
     Orlando, FL, 32896


     Georgia Power Company                                              Utility Services
2    c/o Kevin Pearson
     241 Ralph McGill Blvd NE, Bin 10180
                                                                                                                                                     3,500.00
     Atlanta, GA, 30308

     State Road & Tollway Authority                                                             Disputed
3    245 Peachtree Center Ave NE #2200
     Atlanta, GA, 30303
                                                                                                                                                     2,500.00


     Staples Credit Card                                                Credit Card Debt
4    P.O. Box 78014
     Phoenix, AZ, 85062                                                                                                                              1,500.00


     Michael C. Jones & Assoc., LLC                                     Services
5    3330 Cumberland Blvd Suite 500
     Atlanta, GA, 30339                                                                                                                              900.00



6




7




8




    Official Form 204           Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                page 1
             Case 18-63172-pmb                Doc 1     Filed 08/06/18 Entered 08/06/18 20:01:56                                  Desc Main
                                                        Document     Page 7 of 33
                  Ideal Development Corporation
    Debtor       _______________________________________________________                     Case number (if known)_____________________________________
                 Name




     Name of creditor and complete         Name, telephone number,     Nature of the claim    Indicate if     Amount of unsecured claim
     mailing address, including zip code   and email address of        (for example, trade    claim is        If the claim is fully unsecured, fill in only unsecured
                                           creditor contact            debts, bank loans,     contingent,     claim amount. If claim is partially secured, fill in
                                                                       professional           unliquidated,   total claim amount and deduction for value of
                                                                       services, and          or disputed     collateral or setoff to calculate unsecured claim.
                                                                       government
                                                                       contracts)
                                                                                                              Total claim, if    Deduction for       Unsecured
                                                                                                              partially          value of            claim
                                                                                                              secured            collateral or
                                                                                                                                 setoff


9




10




11




12




13




14




15




16




17




18




19




20




    Official Form 204           Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                 page 2
              Case 18-63172-pmb                        Doc 1   Filed 08/06/18 Entered 08/06/18 20:01:56                          Desc Main
                                                               Document     Page 8 of 33
  Fill in this information to identify the case:

               Ideal Development Corporation
  Debtor name __________________________________________________________________


  United States Bankruptcy Court for the:_______________________________
                                          Northern District of Georgia
  Case number (If known):       _________________________                                                                            Check if this is an
                                                                                                                                        amended filing


Official Form 206A/B
Sche dule A/B: Asse t s — Re a l a nd Pe rsona l Prope r t y                                                                                      12/15

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include
all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which have
no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts or unexpired
leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).
Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.


Pa rt 1 :     Ca sh a nd c a sh e quiva le nt s

1. Does the debtor have any cash or cash equivalents?

   
   
            No. Go to Part 2.
    ✔
            Yes. Fill in the information below.

     All cash or cash equivalents owned or controlled by the debtor                                                               Current value of debtor’s
                                                                                                                                  interest

2. Cash on hand                                                                                                                    0.00
                                                                                                                                 $______________________

3. Checking, savings, money market, or financial brokerage accounts (Identify all)

    Name of institution (bank or brokerage firm)                   Type of account             Last 4 digits of account number
          Wells Fargo
    3.1. _________________________________________________  Checking
                                                           ______________________              ____ ____ ____ ____                 1,200.00
                                                                                                                                 $______________________
          See continuation sheet
    3.2. _________________________________________________ ______________________              ____ ____ ____ ____                 4,000.00
                                                                                                                                 $______________________


4. Other cash equivalents (Identify all)
    4.1. _____________________________________________________________________________________________________                   $______________________
    4.2. _____________________________________________________________________________________________________                   $______________________

5. Total of Part 1                                                                                                                 5,200.00
                                                                                                                                 $______________________
   Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.



Pa rt 2 :     De posit s a nd pre pa ym e nt s

6. Does the debtor have any deposits or prepayments?

           No. Go to Part 3.
   
    ✔


            Yes. Fill in the information below.
                                                                                                                                   Current value of
                                                                                                                                   debtor’s interest
7. Deposits, including security deposits and utility deposits

    Description, including name of holder of deposit

    7.1. ________________________________________________________________________________________________________                 $______________________
    7.2._________________________________________________________________________________________________________                 $_______________________


   Official Form 206A/B                                        Schedule A/B: Assets  Real and Personal Property                              page 1
            Case 18-63172-pmb                     Doc 1     Filed 08/06/18 Entered 08/06/18 20:01:56 Desc Main
Debtor           Ideal Development Corporation
                _______________________________________________________
                Name
                                                            Document     Page 9 of Case
                                                                                   33 number (if known)_____________________________________

8. Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
    Description, including name of holder of prepayment

    8.1.___________________________________________________________________________________________________________                $______________________
    8.2.___________________________________________________________________________________________________________                $_______________________

9. Total of Part 2.
                                                                                                                                  $______________________
   Add lines 7 through 8. Copy the total to line 81.



Pa rt 3 :   Ac c ount s re c e iva ble

10. Does the debtor have any accounts receivable?

      No. Go to Part 4.
      Yes. Fill in the information below.
      ✔




                                                                                                                                   Current value of debtor’s
                                                                                                                                   interest
11. Accounts receivable

     11a. 90 days old or less:    ____________________________ – ___________________________          = ........                 $______________________
                                   face amount                   doubtful or uncollectible accounts

     11b. Over 90 days old:        ___________________________ – ___________________________          = ........                 $______________________
                                    face amount                  doubtful or uncollectible accounts


12. Total of Part 3
                                                                                                                                  $______________________
     Current value on lines 11a + 11b = line 12. Copy the total to line 82.


Pa rt 4 :   I nve st me nt s


      No. Go to Part 5.
13. Does the debtor own any investments?


      Yes. Fill in the information below.
      ✔




                                                                                                         Valuation method          Current value of debtor’s
                                                                                                         used for current value    interest

14. Mutual funds or publicly traded stocks not included in Part 1
    Name of fund or stock:
    14.1. ________________________________________________________________________________               _____________________    $________________________
    14.2. ________________________________________________________________________________               _____________________    $________________________



15. Non-publicly traded stock and interests in incorporated and unincorporated businesses,
    including any interest in an LLC, partnership, or joint venture

    Name of entity:                                                                 % of ownership:
    15.1._______________________________________________________________            ________%            _____________________    $________________________
    15.2._______________________________________________________________            ________%            _____________________    $________________________

16. Government bonds, corporate bonds, and other negotiable and non-negotiable
    instruments not included in Part 1
    Describe:

    16.1.________________________________________________________________________________                ______________________   $_______________________
    16.2.________________________________________________________________________________                ______________________   $_______________________



17. Total of Part 4
                                                                                                                                  $______________________
     Add lines 14 through 16. Copy the total to line 83.



Official Form 206A/B                                         Schedule A/B: Assets  Real and Personal Property                                 page 2
            Case   18-63172-pmb Doc 1
              Ideal Development Corporation
                                                              Filed 08/06/18 Entered 08/06/18 20:01:56 Desc Main
Debtor            _______________________________________________________
                                                             Document      Page 10 ofCase
                                                                                      33 number (if known)_____________________________________
                  Name




Pa rt 5 :    I nve nt ory, e x c luding a gric ult ure a sse t s

18. Does the debtor own any inventory (excluding agriculture assets)?
      No. Go to Part 6.
      Yes. Fill in the information below.
      ✔




      General description                               Date of the last         Net book value of        Valuation method used      Current value of
                                                        physical inventory       debtor's interest        for current value          debtor’s interest
                                                                                 (Where available)
19. Raw materials
    ________________________________________            ______________                                                              $______________________
                                                        MM / DD / YYYY
                                                                                 $__________________       ______________________

20. Work in progress
    ________________________________________            ______________                                                              $______________________
                                                        MM / DD / YYYY
                                                                                 $__________________       ______________________

21. Finished goods, including goods held for resale
    ________________________________________            ______________                                                              $______________________
                                                        MM / DD / YYYY
                                                                                 $__________________       ______________________

22. Other inventory or supplies
    ________________________________________            ______________                                                              $______________________
                                                        MM / DD / YYYY
                                                                                 $__________________       ______________________


23. Total of Part 5                                                                                                                 $______________________
     Add lines 19 through 22. Copy the total to line 84.



     
24. Is any of the property listed in Part 5 perishable?


     
            No
            Yes
25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?

     
     
            No
            Yes. Book value _______________          Valuation method____________________ Current value______________


     
26. Has any of the property listed in Part 5 been appraised by a professional within the last year?


     
            No
            Yes

Pa rt 6 :    Fa rm ing a nd fishing-re la t e d a sse t s (ot he r t ha n t it le d m ot or ve hic le s a nd la nd)

27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?
      No. Go to Part 7.
      ✔



      Yes. Fill in the information below.
      General description                                                        Net book value of        Valuation method used      Current value of debtor’s
                                                                                 debtor's interest        for current value          interest
                                                                                 (Where available)
28. Crops—either planted or harvested
    ______________________________________________________________                $________________         ____________________    $______________________

29. Farm animals Examples: Livestock, poultry, farm-raised fish

    ______________________________________________________________                $________________         ____________________    $______________________

30. Farm machinery and equipment (Other than titled motor vehicles)

    ______________________________________________________________                $________________         ____________________    $______________________

31. Farm and fishing supplies, chemicals, and feed

    ______________________________________________________________                $________________         ____________________    $______________________

32. Other farming and fishing-related property not already listed in Part 6
    ______________________________________________________________                $________________         ____________________    $______________________


Official Form 206A/B                                          Schedule A/B: Assets  Real and Personal Property                                  page 3
            Case 18-63172-pmb                   Doc 1        Filed 08/06/18 Entered 08/06/18 20:01:56 Desc Main
                Ideal Development Corporation
Debtor         _______________________________________________________
                                                            Document      Page 11 ofCase
                                                                                     33 number (if known)_____________________________________
               Name




33. Total of Part 6.
                                                                                                                               $______________________
     Add lines 28 through 32. Copy the total to line 85.

34. Is the debtor a member of an agricultural cooperative?

      No
      Yes. Is any of the debtor’s property stored at the cooperative?
        No
        Yes
35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?

      No
      Yes. Book value $_______________ Valuation method ____________________ Current value $________________
36. Is a depreciation schedule available for any of the property listed in Part 6?

      No
      Yes
37. Has any of the property listed in Part 6 been appraised by a professional within the last year?

      No
      Yes

Pa rt 7 :   Offic e furnit ure , fix t ure s, a nd e quipm e nt ; a nd c olle c t ible s

38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

      No. Go to Part 8.
      Yes. Fill in the information below.
      ✔




    General description                                                          Net book value of    Valuation method          Current value of debtor’s
                                                                                 debtor's interest    used for current value    interest
                                                                                 (Where available)
39. Office furniture

                                                                                  $________________   ____________________     $______________________
40. Office fixtures

                                                                                  $________________   ____________________     $______________________
41. Office equipment, including all computer equipment and
   communication systems equipment and software
Salon Equipment                                                                                        Replacement               4,000.00
                                                                                  $________________   ____________________     $______________________


42. Collectibles Examples: Antiques and figurines; paintings, prints, or other
   artwork; books, pictures, or other art objects; china and crystal; stamp, coin,
   or baseball card collections; other collections, memorabilia, or collectibles

    42.1___________________________________________________________               $________________    ____________________    $______________________
    42.2___________________________________________________________               $________________    ____________________    $______________________
    42.3___________________________________________________________               $________________    ____________________    $______________________
43. Total of Part 7.
    Add lines 39 through 42. Copy the total to line 86.
                                                                                                                                 4,000.00
                                                                                                                               $______________________

44. Is a depreciation schedule available for any of the property listed in Part 7?

     
     ✔ No
      Yes

     
45. Has any of the property listed in Part 7 been appraised by a professional within the last year?
     ✔ No
      Yes
Official Form 206A/B                                          Schedule A/B: Assets  Real and Personal Property                             page 4
            Case   18-63172-pmb Doc 1
              Ideal Development Corporation
                                                           Filed 08/06/18 Entered 08/06/18 20:01:56 Desc Main
 Debtor          _______________________________________________________
                                                          Document      Page 12 ofCase
                                                                                   33 number (if known)_____________________________________
                 Name




Pa rt 8 : M a c hine ry, e quipme nt , a nd ve hic le s

46. Does the debtor own or lease any machinery, equipment, or vehicles?

      No. Go to Part 9.
     
     ✔
       Yes. Fill in the information below.


    General description                                                    Net book value of    Valuation method used    Current value of
                                                                           debtor's interest    for current value        debtor’s interest
    Include year, make, model, and identification numbers (i.e., VIN,
                                                                           (Where available)
    HIN, or N-number)

47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

          2018 BMW X5
    47.1___________________________________________________________         $________________
                                                                                                 Replacement
                                                                                                 ____________________     70,000.00
                                                                                                                        $______________________
          2013 Audi A7
    47.2___________________________________________________________         $________________
                                                                                                 Replacement
                                                                                                 ____________________     10,000.00
                                                                                                                        $______________________

    47.3___________________________________________________________         $________________    ____________________   $______________________

    47.4___________________________________________________________         $________________    ____________________   $______________________

48. Watercraft, trailers, motors, and related accessories Examples: Boats,
    trailers, motors, floating homes, personal watercraft, and fishing vessels

    48.1__________________________________________________________         $________________     ____________________   $______________________

    48.2__________________________________________________________         $________________     ____________________   $______________________

49. Aircraft and accessories

    49.1__________________________________________________________         $________________     ____________________   $______________________

    49.2__________________________________________________________         $________________     ____________________   $______________________

50. Other machinery, fixtures, and equipment
    (excluding farm machinery and equipment)


    ______________________________________________________________         $________________     ____________________   $______________________


51. Total of Part 8.                                                                                                      80,000.00
                                                                                                                        $______________________
    Add lines 47 through 50. Copy the total to line 87.




     
52. Is a depreciation schedule available for any of the property listed in Part 8?
     ✔
     
           No
           Yes



     
53. Has any of the property listed in Part 8 been appraised by a professional within the last year?
     ✔
     
           No
           Yes




 Official Form 206A/B                                      Schedule A/B: Assets  Real and Personal Property                       page 5
             Case
               Ideal 18-63172-pmb
                     Development Corporation Doc 1               Filed 08/06/18 Entered 08/06/18 20:01:56 Desc Main
 Debtor           _______________________________________________________
                                                                Document      Page 13 ofCase
                                                                                         33 number (if known)_____________________________________
                  Name




Pa rt 9 :    Re a l prope rt y

54. Does the debtor own or lease any real property?
        No. Go to Part 10.
        Yes. Fill in the information below.
       ✔



55. Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

       Description and location of property                   Nature and extent      Net book value of    Valuation method used    Current value of
       Include street address or other description such as    of debtor’s interest   debtor's interest    for current value        debtor’s interest
       Assessor Parcel Number (APN), and type of property     in property            (Where available)
       (for example, acreage, factory, warehouse, apartment
       or office building), if available.

55.1
       2111 County Line Road, SW                               Fee Simple
       Atlanta, Georgia 30311                                                                             Comparable Sale           40,000.00
                                                                                     $_______________     ____________________     $_____________________

55.2   2125 County Line Road, SW                              Fee Simple
       Atlanta, Georgia 30311                                                         0.00                Comparable Sale           300,000.00
                                                                                     $_______________     ____________________     $_____________________
       550 Fairburn Road                                      Fee Simple
55.3
       Suites B2, B3, B4                                                                                                            350,000.00
                                                                                                          Comparable Sale
       Atlanta, GA 30331                                                             $_______________     ____________________     $_____________________


56. Total of Part 9.                                                                                                                690,000.00
                                                                                                                                   $_____________________
       Add the current value on lines 55.1 through 55.6 and entries from any additional sheets. Copy the total to line 88.



       
57. Is a depreciation schedule available for any of the property listed in Part 9?
       ✔
       
            No
            Yes
58. Has any of the property listed in Part 9 been appraised by a professional within the last year?
       
       
            No
       ✔    Yes

Pa rt 1 0 : I nt a ngible s a nd int e lle c t ua l prope rty

59. Does the debtor have any interests in intangibles or intellectual property?
        No. Go to Part 11.
        Yes. Fill in the information below.
       ✔




        General description                                                          Net book value of    Valuation method         Current value of
                                                                                     debtor's interest    used for current value   debtor’s interest
                                                                                     (Where available)
60. Patents, copyrights, trademarks, and trade secrets
       ______________________________________________________________                $_________________   ______________________   $____________________

61. Internet domain names and websites
       ______________________________________________________________                $_________________   ______________________    $____________________

62. Licenses, franchises, and royalties
       ______________________________________________________________                $_________________   ______________________    $____________________

63. Customer lists, mailing lists, or other compilations
       ______________________________________________________________                $_________________   ______________________    $____________________

64. Other intangibles, or intellectual property
       ______________________________________________________________                 $________________   _____________________    $____________________
65. Goodwill
       ______________________________________________________________                 $________________   _____________________    $____________________

66. Total of Part 10.
                                                                                                                                   $____________________
       Add lines 60 through 65. Copy the total to line 89.




 Official Form 206A/B                                            Schedule A/B: Assets  Real and Personal Property                            page 6
            Case 18-63172-pmb                           Doc 1    Filed 08/06/18 Entered 08/06/18 20:01:56 Desc Main
Debtor            Ideal Development Corporation
                 _______________________________________________________
                 Name
                                                                Document      Page 14 ofCase
                                                                                         33 number (if known)_____________________________________

67. Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107)?
    
    
          No
          Yes
68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?
    
    
          No
          Yes


    
69. Has any of the property listed in Part 10 been appraised by a professional within the last year?


    
          No
          Yes

Pa rt 1 1 : All ot he r a sse t s

70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.
    
    
      ✔
           No. Go to Part 12.
           Yes. Fill in the information below.
                                                                                                                                          Current value of
                                                                                                                                          debtor’s interest
71. Notes receivable

                                                                                                                                    =
     Description (include name of obligor)

     ______________________________________________________
                                                                         _______________     –   __________________________              $_____________________
                                                                         Total face amount       doubtful or uncollectible amount

72. Tax refunds and unused net operating losses (NOLs)

     Description (for example, federal, state, local)

     _________________________________________________________________________________
                                                                                                               Tax year ___________      $_____________________
     _________________________________________________________________________________
                                                                                                               Tax year ___________      $_____________________
     _________________________________________________________________________________
                                                                                                               Tax year ___________      $_____________________

73. Interests in insurance policies or annuities
    ______________________________________________________________                                                                       $_______________________

74. Causes of action against third parties (whether or not a lawsuit
    has been filed)
    ______________________________________________________________                                                                       $_______________________
    Nature of claim                    ___________________________________

    Amount requested                   $________________

75. Other contingent and unliquidated claims or causes of action of
    every nature, including counterclaims of the debtor and rights to
    set off claims
    ______________________________________________________________                                                                       $_______________________

    Nature of claim                    ___________________________________

    Amount requested                   $________________

76. Trusts, equitable or future interests in property

    ______________________________________________________________                                                                        $_____________________

77. Other property of any kind not already listed Examples: Season tickets,
    country club membership
   ____________________________________________________________                                                                          $_____________________
   ____________________________________________________________                                                                          $_____________________
78. Total of Part 11.
                                                                                                                                         $_____________________
    Add lines 71 through 77. Copy the total to line 90.



    
79. Has any of the property listed in Part 11 been appraised by a professional within the last year?


    
          No
          Yes

Official Form 206A/B                                             Schedule A/B: Assets  Real and Personal Property                                   page 7
              Case   18-63172-pmb Doc 1
                Ideal Development Corporation
                                                                        Filed 08/06/18 Entered 08/06/18 20:01:56 Desc Main
Debtor            _______________________________________________________
                                                                       Document      Page 15 ofCase
                                                                                                33 number (if known)_____________________________________
                  Name




Pa rt 1 2 :     Sum ma ry



In Part 12 copy all of the totals from the earlier parts of the form.


       Type of property                                                                             Current value of                         Current value
                                                                                                    personal property                        of real property
                                                                                                         5,200.00
                                                                                                       $_______________
80. Cash, cash equivalents, and financial assets. Copy line 5, Part 1.

                                                                                                         0.00
                                                                                                       $_______________
81. Deposits and prepayments. Copy line 9, Part 2.

                                                                                                         0.00
                                                                                                       $_______________
82. Accounts receivable. Copy line 12, Part 3.

                                                                                                         0.00
                                                                                                       $_______________
83. Investments. Copy line 17, Part 4.
                                                                                                         0.00
                                                                                                       $_______________
84. Inventory. Copy line 23, Part 5.
                                                                                                         0.00
                                                                                                       $_______________
85. Farming and fishing-related assets. Copy line 33, Part 6.

86. Office furniture, fixtures, and equipment; and collectibles.                                         4,000.00
                                                                                                       $_______________
     Copy line 43, Part 7.
                                                                                                         80,000.00
                                                                                                       $_______________
87. Machinery, equipment, and vehicles. Copy line 51, Part 8.

88. Real property. Copy line 56, Part 9. . .................................................................................. 
                                                                                                                                               690,000.00
                                                                                                                                             $________________

                                                                                                         0.00
                                                                                                       $_______________
89. Intangibles and intellectual property. Copy line 66, Part 10.

                                                                                                  +      0.00
                                                                                                       $_______________
90. All other assets. Copy line 78, Part 11.

                                                                                                         89,200.00
                                                                                                       $_______________
                                                                                                                                              690,000.00
                                                                                                                                             $________________
91. Total. Add lines 80 through 90 for each column. ........................... 91a.                                              +   91b.




                                                                                        779,200.00                                                                779,200.00
                                                                                                                                                                 $__________________
92. Total of all property on Schedule A/B. Lines 91a + 91b = 92. ...........................................................................................




Official Form 206A/B                                                     Schedule A/B: Assets  Real and Personal Property                                               page 8
            Case 18-63172-pmb                   Doc 1          Filed 08/06/18 Entered 08/06/18 20:01:56             Desc Main
                Ideal Development Corporation                 Document      Page 16 of 33
 Debtor 1                                                               _                  Case number (if known)
               First Name    Middle Name          Last Name



                                                      Continuation Sheet for Official Form 206 A/B
3) Checking, savings, money market, or financial brokerage accounts

Chase Bank, N.A.                                Checking

Balance: 1,500.00

Wells Fargo                                     Checking

Balance: 2,500.00




Official Form 206 A/B                                                 Schedule A/B: Property
              Case 18-63172-pmb                            Doc 1      Filed 08/06/18 Entered 08/06/18 20:01:56                                     Desc Main
  Fill in this information to identify the case:
                                                                     Document      Page 17 of 33
              Ideal Development Corporation
  Debtor name __________________________________________________________________
                                          ______________________
  United States Bankruptcy Court for the: Northern               District of _________
                                                   District of Georgia

                                                                                                                                                        Check if this is an
                                                                                         (State)

  Case number (If known):       _________________________
                                                                                                                                                            amended filing
 Official Form 206D
 Sc he dule D: Cre dit ors Who H a ve Cla im s Se c ure d by Prope rt y                                                                                                12/15
 Be as complete and accurate as possible.

 1. Do any creditors have claims secured by debtor’s property?
        No. Check this box and submit page 1 of this form to the court with debtor’s other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.

 Pa rt 1 :      List Cre dit ors Who H a ve Se c ure d Cla im s
                                                                                                                                 Column A                  Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one
    secured claim, list the creditor separately for each claim.                                                                  Amount of claim           Value of collateral
                                                                                                                                 Do not deduct the value   that supports this
2.1 Creditor’s name                                              Describe debtor’s property that is subject to a lien            of collateral.            claim
     Ally Financial, Inc.                                        2013 Audi A7
      __________________________________________                                                                                   9,000.00
                                                                                                                                 $__________________          10,000.00
                                                                                                                                                            $_________________

     Creditor’s mailing address

      CT Corporation
      ________________________________________________________
      1201 Peachtree St., NE, Atlanta, GA 30361-0000
      ________________________________________________________

                                                                 Describe the lien
    Creditor’s email address, if known
                                                                  _________________________________________________
      _________________________________________
                                                                 Is the creditor an insider or related party?
                                                                 
                                                                 
    Date debt was incurred           __________________          ✔   No
    Last 4 digits of account                                         Yes


                                                                 
    number                   _________________                   Is anyone else liable on this claim?

                                                                 
    Do multiple creditors have an interest in the                    No
                                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H).
    
                                                                 ✔
    same property?

     Yes. Specify each creditor, including this creditor,
    ✔
      No
                                                                 As of the petition filing date, the claim is:
                                                                 Check all that apply.
                                                                 
                                                                 
                                                                     Contingent

                                                                 
                                                                     Unliquidated
                                                                     Disputed
2.2 Creditor’s name                                              Describe debtor’s property that is subject to a lien
     BMW Financial Services NA, LLC
                                                                 2018 BMW X5                                                     $__________________
                                                                                                                                  78,038.09                 $_________________
                                                                                                                                                             70,000.00
      __________________________________________
     Creditor’s mailing address
      c/o CT Corporation Systems
      ________________________________________________________
      289 S Culver St, Lawrenceville, GA 30046
      ________________________________________________________


    Creditor’s email address, if known
      _________________________________________
                                                                 Describe the lien
    Date debt was incurred __________________
    Last 4 digits of account                                      Agreement you made
                                                                  _________________________________________________
    number                   _________________
                                                                 Is the creditor an insider or related party?
    Do multiple creditors have an interest in the                
                                                                 
                                                                 ✔   No
    same property?
    
                                                                     Yes

     Yes. Have you already specified the relative
    ✔ No

                                                                 
                                                                 Is anyone else liable on this claim?

                                                                 
                                                                     No

         
              priority?                                          ✔   Yes. Fill out Schedule H: Codebtors (Official Form 206H).
              No. Specify each creditor, including this
                   creditor, and its relative priority.          As of the petition filing date, the claim is:
                                                                 Check all that apply.
                                                                 
                                                                
                                                                     Contingent

                                                                 
              Yes. The relative priority of creditors is             Unliquidated
                  specified on lines _____                           Disputed

 3. Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional                                    716,466.35
                                                                                                                                  $________________
    Page, if any.
   Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                          4
                                                                                                                                                              page 1 of ___
               Case    18-63172-pmb
                Ideal Development Corporation               Doc 1     Filed 08/06/18 Entered 08/06/18 20:01:56 Desc Main
  Debtor            _______________________________________________________
                    Name                                             Document      Page 18 ofCase
                                                                                              33 number (if known)_____________________________________

                                                                                                                                 Column A                Column B
  Pa rt 1 :     Addit iona l Pa ge                                                                                               Amount of claim         Value of collateral
                                                                                                                                 Do not deduct the value that supports this
                                                                                                                                 of collateral.          claim
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
  previous page.

2.__
  3 Creditor’s name                                              Describe debtor’s property that is subject to a lien
     First Citizens Bank & Trust Co
                                                                 550 Fairburn Road
      __________________________________________                 Suites B2, B3, B4                                               $__________________
                                                                                                                                  363,668.46              350,000.00
                                                                                                                                                         $_________________
     Creditor’s mailing address                                  Atlanta, GA 30331
      c/o CT Corporation System
      ________________________________________________________

      1201 PEACHTREE STREET, N.E., Atlanta, GA 30361-0000
      ________________________________________________________




     Creditor’s email address, if known
      _________________________________________



     Date debt was incurred          __________________          Describe the lien
     Last 4 digits of account                                     Agreement you made
                                                                  __________________________________________________
     number                   _________________

                                                                 
                                                                 Is the creditor an insider or related party?
     Do multiple creditors have an interest in the
                                                                 
                                                                 ✔   No
     same property?
     
                                                                     Yes

      Yes. Have you already specified the relative
     ✔ No



                                                                 
                                                                 Is anyone else liable on this claim?
               priority?
                                                                
                                                                     No
               No. Specify each creditor, including this         ✔   Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                   creditor, and its relative priority.
                                                                 As of the petition filing date, the claim is:
                                                                 Check all that apply.
                                                                 
                                                                
                                                                     Contingent

                                                                 
               Yes. The relative priority of creditors is            Unliquidated
                   specified on lines _____                          Disputed


2.__
  4 Creditor’s name                                              Describe debtor’s property that is subject to a lien
     First Citizens Bank & Trust Co
                                                                 2125 County Line Road, SW
                                                                 Atlanta, Georgia 30311
      __________________________________________                                                                                 $__________________
                                                                                                                                  257,506.00               300,000.00
                                                                                                                                                         $_________________
     Creditor’s mailing address


       c/o CT Corporation System
      ________________________________________________________

       1201 PEACHTREE STREET, N.E., Atlanta, GA 30361-0000
      ________________________________________________________




     Creditor’s email address, if known
      _________________________________________

     Date debt was incurred          __________________
                                                                 Describe the lien
     Last 4 digits of account
     number                   _________________                   __________________________________________________



                                                                 
     Do multiple creditors have an interest in the               Is the creditor an insider or related party?

                                                                 
                                                                 ✔   No
     same property?
                                                                    Yes

      Yes. Have you already specified the relative
     ✔ No


                                                                 
                                                                 Is anyone else liable on this claim?

                                                                 
                                                                 ✔   No
           
               priority?
                                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H).
               No. Specify each creditor, including this
                   creditor, and its relative priority.
                                                                 As of the petition filing date, the claim is:
                                                                 Check all that apply.
                                                                 
                                                                
                                                                     Contingent

                                                                 
               Yes. The relative priority of creditors is            Unliquidated
                   specified on lines _____                          Disputed


  Official Form 206D                        Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                    page ___
                                                                                                                                                                  2 of ___
                                                                                                                                                                        4
               Case    18-63172-pmb
                Ideal Development Corporation               Doc 1    Filed 08/06/18 Entered 08/06/18 20:01:56 Desc Main
  Debtor            _______________________________________________________
                    Name                                            Document      Page 19 ofCase
                                                                                             33 number (if known)_____________________________________

                                                                                                                                Column A                Column B
 Pa rt 1 :      Addit iona l Pa ge                                                                                              Amount of claim         Value of collateral
                                                                                                                                Do not deduct the value that supports this
                                                                                                                                of collateral.          claim
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
  previous page.

2.__
  5 Creditor’s name                                             Describe debtor’s property that is subject to a lien
     Fulton County Tax Commissioner
                                                                2111 County Line Road, SW
     __________________________________________                 Atlanta, Georgia 30311                                          $__________________
                                                                                                                                 Unknown                 40,000.00
                                                                                                                                                        $_________________
     Creditor’s mailing address

     141 Pryor St SW #1085
     ________________________________________________________

     Atlanta, GA 30303
     ________________________________________________________




    Creditor’s email address, if known
     _________________________________________



    Date debt was incurred           __________________         Describe the lien
    Last 4 digits of account
                                                                 __________________________________________________
    number                   _________________

                                                                
                                                                Is the creditor an insider or related party?
    Do multiple creditors have an interest in the
                                                                
                                                                ✔   No
    same property?
    
                                                                    Yes

     Yes. Have you already specified the relative
    ✔ No



                                                                
                                                                Is anyone else liable on this claim?
               priority?
                                                               
                                                                ✔   No
               No. Specify each creditor, including this            Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                   creditor, and its relative priority.
                                                                As of the petition filing date, the claim is:
                                                                Check all that apply.
                                                                
                                                               
                                                                    Contingent

                                                                
               Yes. The relative priority of creditors is           Unliquidated
                   specified on lines _____                         Disputed


2.__
  6 Creditor’s name                                             Describe debtor’s property that is subject to a lien
     TimePayment Corp.
                                                                Salon Equipment
     __________________________________________                                                                                 $__________________
                                                                                                                                 8,253.80                 4,000.00
                                                                                                                                                        $_________________
     Creditor’s mailing address


      1600 District Avenue
     ________________________________________________________

      Suite 200, Burlington, MA 01803
     ________________________________________________________




    Creditor’s email address, if known
     _________________________________________

    Date debt was incurred           __________________
                                                                Describe the lien
    Last 4 digits of account
    number                   _________________                   __________________________________________________



                                                                
    Do multiple creditors have an interest in the               Is the creditor an insider or related party?

                                                                
                                                                ✔   No
    same property?
                                                                   Yes

     Yes. Have you already specified the relative
    ✔ No


                                                                
                                                                Is anyone else liable on this claim?

                                                                
                                                                ✔   No
           
               priority?
                                                                    Yes. Fill out Schedule H: Codebtors (Official Form 206H).
               No. Specify each creditor, including this
                   creditor, and its relative priority.
                                                                As of the petition filing date, the claim is:
                                                                Check all that apply.
                                                                
                                                               
                                                                    Contingent

                                                                
               Yes. The relative priority of creditors is           Unliquidated
                   specified on lines _____                         Disputed


  Official Form 206D                        Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                   page ___
                                                                                                                                                                 3 of ___
                                                                                                                                                                       4
            Case 18-63172-pmb                  Doc 1       Filed 08/06/18 Entered 08/06/18 20:01:56                                  Desc Main
               Ideal Development Corporation
                                                          Document      Page 20 of 33
Debtor         _______________________________________________________                            Case number (if known)_____________________________________
               Name



Pa rt 2 :    List Ot he rs t o Be N ot ifie d for a De bt Alre a dy List e d in Pa rt 1

List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection
agencies, assignees of claims listed above, and attorneys for secured creditors.

If no others need to be notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.

                                                                                                                On which line in Part 1      Last 4 digits of
         Name and address
                                                                                                                did you enter the            account number
                                                                                                                related creditor?            for this entity


                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




Form 206D                          Official Part 2 of Schedule D: Creditors Who Have Claims Secured by Property                                 page ___
                                                                                                                                                      4 of ___
                                                                                                                                                           4
                 Case 18-63172-pmb               Doc 1      Filed 08/06/18 Entered 08/06/18 20:01:56                                Desc Main
   Fill in this information to identify the case:          Document      Page 21 of 33
   Debtor
                    Ideal Development Corporation
                    __________________________________________________________________

   United States Bankruptcy Court for the: ________________________________
                                           Northern District of Georgia
   Case number       ___________________________________________


                                                                                                                                       Check if this is an
    (If known)



                                                                                                                                         amended filing
  Official Form 206E/F
  Sc he dule E/F: Cre dit ors Who Ha ve U nse c ure d Cla im s                                                                                      12/15
  Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY
  unsecured claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
  on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases
  (Official Form 206G). Number the entries in Parts 1 and 2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach
  the Additional Page of that Part included in this form.

 Pa rt 1 :       List All Cre ditors w ith PRI ORI T Y U nse c ure d Cla im s



    
 1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).


    
         No. Go to Part 2.
    ✔    Yes. Go to line 2.

 2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than
    3 creditors with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                         Total claim                  Priority amount
2.1 Priority creditor’s name and mailing address            As of the petition filing date, the claim is: $______________________
                                                                                                           0.00                        0.00
    Georgia Department of Revenue                                                                                                    $_________________

                                                            
                                                            Check all that apply.
    Bankruptcy Section
                                                            
                                                                Contingent

                                                            
    P.O. Box 161108                                             Unliquidated
    Atlanta, GA, 30321-0000                                     Disputed

                                                            Basis for the claim:
    Date or dates debt was incurred                          Taxes & Other Government Units
    _________________________________


                                                            
    Last 4 digits of account                                Is the claim subject to offset?

                                                             Yes
    number      _______________________                      ✔ No


    Specify Code subsection of PRIORITY unsecured
                                8
    claim: 11 U.S.C. § 507(a) (_____)
    Priority creditor’s name and mailing address
2.2 Internal Revenue Service                                As of the petition filing date, the claim is: $______________________
                                                                                                            0.00                       0.00
                                                                                                                                     $_________________

                                                            
                                                            Check all that apply.
    CIO
                                                            
    P.O. Box 7346                                               Contingent

                                                            
    Philadelphia, PA, 19101-7346                                Unliquidated
                                                                Disputed

                                                            Basis for the claim:
    Date or dates debt was incurred
                                                             Taxes & Other Government Units
    _________________________________

    Last 4 digits of account

                                                            
    number      _______________________                     Is the claim subject to offset?

                                                             Yes
                                                             ✔ No

    Specify Code subsection of PRIORITY unsecured
    claim: 11 U.S.C. § 507(a) (_____)
                                8
2.3 Priority creditor’s name and mailing address            As of the petition filing date, the claim is: $______________________    $_________________

                                                            
                                                            Check all that apply.

                                                            
                                                                Contingent

                                                            
                                                                Unliquidated
                                                                Disputed

                                                            Basis for the claim:
    Date or dates debt was incurred
    _________________________________

    Last 4 digits of account

                                                             No
    number      _______________________                     Is the claim subject to offset?

    Specify Code subsection of PRIORITY unsecured            Yes
    claim: 11 U.S.C. § 507(a) (_____)



  Official Form 206E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                                 3
                                                                                                                                           page 1 of ___
  Debtor
             Case    18-63172-pmb
               Ideal Development Corporation Doc 1 Filed 08/06/18 EnteredCase
               _______________________________________________________
                                                                                   08/06/18        20:01:56 Desc Main
                                                                                     number (if known)_____________________________________
               Name                                  Document          Page 22 of 33
 Pa rt 2 :   List All Cre ditors w ith NONPRI ORI T Y U nse c ure d Cla ims

 3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority
    unsecured claims, fill out and attach the Additional Page of Part 2.
                                                                                                                             Amount of claim
                                                                           As of the petition filing date, the claim is:
3.1 Nonpriority creditor’s name and mailing address
                                                                           
                                                                           Check all that apply.
                                                                                                                             3,500.00
                                                                                                                           $________________________________
                                                                           
    Georgia Power Company                                                      Contingent

                                                                           
    c/o Kevin Pearson                                                          Unliquidated
    241 Ralph McGill Blvd NE, Bin 10180                                        Disputed
    Atlanta, GA, 30308                                                                             Utility Services
                                                                           Basis for the claim:



    Date or dates debt was incurred                                         Is the claim subject to offset?
                                                                           
                                               ___________________

                                                                           
    Last 4 digits of account number            ___________________
                                                                           ✔   No
                                                                               Yes

3.2 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:

                                                                           
    Michael C. Jones & Assoc., LLC                                         Check all that apply.                             900.00
                                                                                                                           $________________________________

                                                                           
    3330 Cumberland Blvd Suite 500                                             Contingent

                                                                           
    Atlanta, GA, 30339                                                         Unliquidated
                                                                               Disputed
                                                                           Basis for the claim:
                                                                                                   Services

                                                                           Is the claim subject to offset?
                                                                           
    Date or dates debt was incurred            ___________________

                                                                           
                                                                           ✔   No
    Last 4 digits of account number            __________________              Yes
                                                                           As of the petition filing date, the claim is:
3.3 Nonpriority creditor’s name and mailing address
                                                                           
                                                                           Check all that apply.                             1,500.00
    Staples Credit Card                                                                                                    $________________________________

                                                                           
                                                                               Contingent
    P.O. Box 78014
                                                                           
                                                                               Unliquidated
    Phoenix, AZ, 85062                                                         Disputed
                                                                           Basis for the claim:
                                                                                                   Credit Card Debt

    Date or dates debt was incurred            ___________________

                                                                           
                                                                            Is the claim subject to offset?

                                                                           
    Last 4 digits of account number            __________________          ✔   No
                                                                               Yes
3.4 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                                                                             2,500.00
                                                                                                                           $________________________________
                                                                           
    State Road & Tollway Authority                                         Check all that apply.

                                                                           
    245 Peachtree Center Ave NE #2200                                          Contingent

                                                                           
    Atlanta, GA, 30303                                                         Unliquidated
                                                                           ✔   Disputed
                                                                            Basis for the claim:


    Date or dates debt was incurred                                        Is the claim subject to offset?
                                                                           
                                               ___________________

                                                                           
    Last 4 digits of account number
                                                                           ✔
                                                                               No
                                               __________________
                                                                               Yes
3.5 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
    Synchrony Bank                                                                                                           6,145.00
                                                                                                                           $________________________________
                                                                           
                                                                           Check all that apply.
    PO Box 960061
                                                                           
                                                                               Contingent

                                                                           
                                                                               Unliquidated
    Orlando, FL, 32896                                                         Disputed
                                                                           Basis for the claim:
                                                                                                   Credit Card Debt

    Date or dates debt was incurred            ___________________
                                                                           
                                                                           Is the claim subject to offset?

                                                                           
    Last 4 digits of account number            __________________          ✔   No
                                                                               Yes
3.6 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                                                                           $________________________________
                                                                           
                                                                           Check all that apply.

                                                                           
                                                                               Contingent

                                                                           
                                                                               Unliquidated
                                                                               Disputed
                                                                           Basis for the claim:


    Date or dates debt was incurred            ___________________         Is the claim subject to offset?
                                                                           
                                                                           
    Last 4 digits of account number            ___________________             No
                                                                               Yes


    Official Form 206E/F                           Schedule E/F: Creditors Who Have Unsecured Claims                                              page __    3
                                                                                                                                                       2 of ___
 Debtor
            Case   18-63172-pmb
             Ideal Development Corporation Doc 1 Filed 08/06/18 EnteredCase
              _______________________________________________________
                                                                                  08/06/18        20:01:56 Desc Main
                                                                                    number (if known)_____________________________________
              Name                                  Document          Page 23 of 33
Pa rt 4 :    T ot a l Amount s of the Priority a nd N onpriorit y Unse c ure d Cla im s


5. Add the amounts of priority and nonpriority unsecured claims.




                                                                                                           Total of claim amounts



5a. Total claims from Part 1                                                                   5a.
                                                                                                             0.00
                                                                                                           $_____________________________




5b. Total claims from Part 2                                                                   5b.   +       14,545.00
                                                                                                           $_____________________________




5c. Total of Parts 1 and 2                                                                                   14,545.00
                                                                                               5c.         $_____________________________
   Lines 5a + 5b = 5c.




   Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                               3
                                                                                                                                         3 of ___
                                                                                                                                    page __
             Case 18-63172-pmb                   Doc 1       Filed 08/06/18 Entered 08/06/18 20:01:56                                Desc Main
                                                            Document      Page 24 of 33
 Fill in this information to identify the case:

             Ideal Development Corporation
 Debtor name __________________________________________________________________

                                         Northern District of Georgia
 United States Bankruptcy Court for the:_____________________________

 Case number (If known):     _________________________                        11
                                                                      Chapter _____



                                                                                                                                          Check if this is an
                                                                                                                                             amended filing

Official Form 206G
Sc he dule G: Ex e c ut ory Cont ra c t s a nd U ne x pire d Le a se s                                                                                 12/15

Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries consecutively.

 1. Does the debtor have any executory contracts or unexpired leases?
       
       
            No. Check this box and file this form with the court with the debtor’s other schedules. There is nothing else to report on this form.
       ✔
          Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (Official
       Form 206A/B).
 2. List all contracts and unexpired leases                                                State the name and mailing address for all other parties with
                                                                                           whom the debtor has an executory contract or unexpired lease
                                         Debtor is lessor of real property at             Butner Learning Center
           State what the contract or    2125 County Line Road, SW                        2125 County Line Road, SW
 2.1       lease is for and the nature
                                         Lessor
           of the debtor’s interest
                                                                                          Atlanta, GA, 30331

           State the term remaining
           List the contract number of
           any government contract

                                         Debtor is lessor of real property at             Berkely Medical Center, P.C.
           State what the contract or    550 Fairburn Road.                               550 Fairburn Road
 2.2       lease is for and the nature
           of the debtor’s interest      Lessor                                           Suite B2, B3, B4
                                                                                          Atlanta, GA, 30311
           State the term remaining      4 years
           List the contract number of
           any government contract


           State what the contract or
 2.3       lease is for and the nature
           of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract


           State what the contract or
 2.4
           lease is for and the nature
           of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract


           State what the contract or
 2.5       lease is for and the nature
           of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract




Official Form 206G                            Schedule G: Executory Contracts and Unexpired Leases                                                        1
                                                                                                                                               page 1 of ___
            Case 18-63172-pmb                   Doc 1       Filed 08/06/18 Entered 08/06/18 20:01:56                                 Desc Main
                                                           Document      Page 25 of 33
 Fill in this information to identify the case:

 Debtor name __________________________________________________________________
             Ideal Development Corporation

                                         Northern District of Georgia
 United States Bankruptcy Court for the:_______________________________

 Case number (If known):    _________________________




                                                                                                                                          Check if this is an
                                                                                                                                             amended filing
Official Form 206H
Sc he dule H : Code bt ors                                                                                                                               12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach
the Additional Page to this page.


 1. Does the debtor have any codebtors?
        No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
       
       ✔ Yes
 2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
       creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each
       schedule on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.

        Column 1: Codebtor                                                                                Column 2: Creditor

                                                                                                                                             Check all schedules
            Name                      Mailing address                                                     Name
                                                                                                                                             that apply:
                                     James T. Walker
 2.1     James T. Walker
         _____________________                                                                           Ally Financial, Inc.
                                                                                                          _____________________              
                                                                                                                                             ✔ D
                                                                                                                                              E/F
                                     4180 Roswell Road
                                     Atlanta, GA, 30342                                                                                       G




                                     James T. Walker
                                                                                                                                    
 2.2     James T. Walker
         _____________________                                                                           BMW    Financial Services NA,
                                                                                                          _____________________         D
                                                                                                                                     ✔ LLC
                                                                                                                                              E/F
                                     4180 Roswell Road
                                                                                                                                              G
                                     Atlanta, GA, 30342



                                     Wendy Walker
                                                                                                                Citizens Bank & Trust 
 2.3
         Wendy Walker
         _____________________       4180 Roswell Road                                                    First
                                                                                                           _____________________      Co
                                                                                                                                      ✔ D
                                                                                                                                              E/F
                                                                                                                                              G
                                     Atlanta, GA, 30342



                                     James T. Walker
                                                                                                                                     
 2.4     James T. Walker
         _____________________       4180 Roswell Road                                                   First                       ✔ D
                                                                                                               Citizens Bank & Trust Co
                                                                                                          _____________________
                                                                                                                                              E/F
                                                                                                                                              G
                                     Atlanta, GA, 30342




                                                                                                                                              D
 2.5
         _____________________                                                                             _____________________
                                                                                                                                              E/F
                                                                                                                                              G




                                                                                                                                              D
 2.6
         _____________________                                                                             _____________________
                                                                                                                                              E/F
                                                                                                                                              G




Official Form 206H                                               Schedule H: Codebtors                                                                    1
                                                                                                                                               page 1 of ___
          Case 18-63172-pmb                     Doc 1     Filed 08/06/18 Entered 08/06/18 20:01:56                              Desc Main
                                                         Document      Page 26 of 33
 Fill in this information to identify the case and this filing:

              Ideal Development Corporation
 Debtor Name __________________________________________________________________

                                         Northern District of Georgia
 United States Bankruptcy Court for the: ________________________________

 Case number (If known):    _________________________




Official Form 202
De c la ra t ion U nde r Pe na lt y of Pe rjury for N on-I ndividua l De bt ors                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



            De c la ra t ion a nd signa t ure



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


         
         ✔    Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

         
         ✔    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

         
         ✔    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

         
         ✔    Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

         
         ✔    Schedule H: Codebtors (Official Form 206H)

         
         ✔    Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

             Amended Schedule ____


         
         ✔    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)


             Other document that requires a declaration__________________________________________________________________________________




                                                            /s/ James T. Walker
        I declare under penalty of perjury that the foregoing is true and correct.


                    08/07/2018
        Executed on ______________                             _________________________________________________________________________
                           MM / DD / YYYY                       Signature of individual signing on behalf of debtor



                                                                  James T. Walker
                                                                ________________________________________________________________________
                                                                Printed name

                                                                  President
                                                                ______________________________________
                                                                Position or relationship to debtor



Official Form 202                           Declaration Under Penalty of Perjury for Non-Individual Debtors
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                                 Document      Page 27 of 33


                             United States Bankruptcy Court
                                Northern District of Georgia




         Ideal Development Corporation
In re:                                                          Case No.

                                                                Chapter    11
                     Debtor(s)




                            Verification of Creditor Matrix



       The above-named Debtor(s) hereby verify that the attached list of creditors is
true and correct to the best of their knowledge.




              08/07/2018                           /s/ James T. Walker
Date:
                                                  Signature of Individual signing on behalf of debtor

                                                   President
                                                  Position or relationship to debtor
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          Ally Financial, Inc.                  Georgia Power Company
          CT Corporation                        c/o Kevin Pearson
          1201 Peachtree St., NE                241 Ralph McGill Blvd NE, Bin 10180
          Atlanta, GA 30361-0000                Atlanta, GA 30308


          BMW Financial Services NA, LLC        Internal Revenue Service
          c/o CT Corporation Systems            CIO
          289 S Culver St                       P.O. Box 7346
          Lawrenceville, GA 30046               Philadelphia, PA 19101-7346


          Berkely Medical Center, P.C.          James T. Walker
          550 Fairburn Road                     4180 Roswell Road
          Suite B2, B3, B4                      Atlanta, GA 30342
          Atlanta, GA 30311

                                                Michael C. Jones & Assoc., LLC
          Butner Learning Center                3330 Cumberland Blvd Suite 500
          2125 County Line Road, SW             Atlanta, GA 30339
          Atlanta, GA 30331

                                                Staples Credit Card
          First Citizens Bank & Trust Co        P.O. Box 78014
          c/o CT Corporation System             Phoenix, AZ 85062
          1201 PEACHTREE STREET, N.E.
          Atlanta, GA 30361-0000
                                                State Road & Tollway Authority
                                                245 Peachtree Center Ave NE #2200
          Fulton County Tax Commissioner        Atlanta, GA 30303
          141 Pryor St SW #1085
          Atlanta, GA 30303
                                                Synchrony Bank
                                                PO Box 960061
          Georgia Department of Revenue         Orlando, FL 32896
          Bankruptcy Section
          P.O. Box 161108
          Atlanta, GA 30321-0000                TimePayment Corp.
                                                1600 District Avenue
                                                Suite 200
                                                Burlington, MA 01803
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          Wendy Walker
          4180 Roswell Road
          Atlanta, GA 30342
     B2030
       Case(Form 2030) (12/15)
              18-63172-pmb                     Doc 1        Filed 08/06/18 Entered 08/06/18 20:01:56                                    Desc Main
                                                           Document      Page 30 of 33
                                      United States Bankruptcy Court
                                                              Northern District of Georgia
                                               __________________________________
     In re   Ideal Development Corporation

                                                                                                             Case No. _______________

    Debtor                                                                                                    Chapter________________
                                                                                                                      11



                       DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

    1. Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the
       above named debtor(s) and that compensation paid to me within one year before the filing of the
       petition in bankruptcy, or agreed to be paid to me, for services rendered or to be rendered on behalf of
       the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

    FLAT FEE
          For legal services, I have agreed to accept . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $______________
          Prior to the filing of this statement I have received. . . . . . . . . . . . . . . . . . . . . . . . $______________
          Balance Due. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $______________
✔    RETAINER
                                                                                                                         10,000.00
          For legal services, I have agreed to accept a retainer of . . . . . . . . . . . . . . . . . . . . $______________
                                                                                                                         350.00
          The undersigned shall bill against the retainer at an hourly rate of . . . . . . . . . . . $______________
          [Or attach firm hourly rate schedule.] Debtor(s) have agreed to pay all Court
          approved fees and expenses exceeding the amount of the retainer.

    2. The source of the compensation paid to me was:
                 Debtor                                 Other (specify)        James T. Walker


    3. The source of compensation to be paid to me is:
                 Debtor                                 Other (specify)        James T. Walker


    4.         I have not agreed to share the above-disclosed compensation with any other person unless they
         are members and associates of my law firm.

              I have agreed to share the above-disclosed compensation with a other person or persons who
    are not members or associates of my law firm. A copy of the Agreement, together with a list of the names
    of the people sharing the compensation is attached.
    5. In return of the above-disclosed fee, I have agreed to render legal service for all aspects of the
       bankruptcy case, including:
         a. Analysis of the debtor’s financial situation, and rendering advice to the debtor in determining
            whether to file a petition in bankruptcy;
         b. Preparation and filing of any petition, schedules, statements of affairs and plan which may be
            required;
         c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any
            adjourned hearings thereof;
  Case 18-63172-pmb                   Doc 1       Filed 08/06/18 Entered 08/06/18 20:01:56                                 Desc Main
 B2030 (Form 2030) (12/15)                       Document      Page 31 of 33
      d. [Other provisions as needed]
A.prepare and file on behalf of the client all petitions, schedules, statements, plans, and other documents or pleadings;
B.attend and represent the client at all meetings of creditors, hearings, trials, conferences, and other proceedings, whether in or out of court;
C.provide legal advice to the client as to the rights, duties, and powers of the client as a debtor in possession in a chapter 11 case, and as to other
matters arising in or related to the chapter 11 case; and
D.otherwise assist, advise, and represent the client on matters related to the chapter 11 case as requested by the client




6. By agreement with the debtor(s), the above-disclosed fee does not include the following services:
Adversary Proceedings Filed Against Debtor.
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                                            CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for
           payment to me for representation of the debtor(s) in this bankruptcy proceeding.

     _____________________
       08/07/2018
                                        _________________________________________
                                         /s/ Will Geer, 940493

     Date                                     Signature of Attorney
                                        _________________________________________
                                         Wiggam & Geer, LLC

                                             ​Name of law firm
                                         333 Sandy Springs Circle, NE
                                         Suite 225
                                         Atlanta, GA 30328
                                         wgeer@wiggamgeer.com
         Case 18-63172-pmb        Doc 1     Filed 08/06/18 Entered 08/06/18 20:01:56          Desc Main
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                                          United States Bankruptcy Court
IN RE:                                                               Case No.__________________
Ideal Development Corporation
__________________________________________________________ Chapter 11_________________

                                  LIST OF EQUITY SECURITY HOLDERS


 Registered name and last known address of security holder    Shares              Security Class
                                                              (Or Percentage)     (or kind of interest)

 James T. Walker                                             100                  President
 4180 Roswell Road, Atlanta, GA 30342
